Case 16-13590-mdc                 Doc 62         Filed 01/17/18 Entered 01/18/18 11:09:43                          Desc Main
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                                IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  IN RE: Janice C. Heller
                                           Debtor(s)                                             CHAPTER      13


  US. BANK NATIONAL ASSOCIATION (TRUSTEE
  FOR THE PENNSYLVANIA HOUSING FINANCE
  AGENCY)                                                                                   NO. 16-13590 MDC
                                          Movant
                         vs.

  Janice C. Heller                                                                         l U.S.C. Section 362
                                                                                             1



                                          Debtor(s)

  William C. Miller, Esq.
                                          Trustee

                                                         ORDER
                                                                      A?
              AND NOW, this         / ’7 %day of U;    My    ,   m     upon failure     of Debtor(s) and the Trustee to file
   an answer or otherwise plead,        it is:
              ORDERED THAT: The Motion for Relief from the Automatic Stay is granted and the automatic
   stay   of all   proceedings, as provided under Section 362    of Title   11   of the United   States Code, as amended, is

   modiﬁed         as   to Movant, with respect to the subject premises located at 400 Glendale Road, Unit J52,
   Haverford Hill, Havertown, PA 19083 (“Property”), to allow Movant, or its successor or assignee, to proceed




                         WWFWWWWWWW
   the Property at Sheriff‘s Sale

   right to possession of the       01331131..
                                                 W
   with its rights and remedies under the terms of the subject mortgage and pursue its in rem State Court
   remedies including, but not limited to, taking the Property to Sheriff‘s Sale, in addition to potentially pursuing

   other loss mitigation alternatives including, but not limited to, a loan modiﬁcation, short sale or deed—in-lieu
   of foreclosure.




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                                                                                     legal action to enforce or estabﬁ‘s‘hﬁ'Ts’




                                                                                          United States Bankruptcy Judge
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